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         Executive Grant of Clemency
TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

        AFTER CONSIDERING THE APPLICATIONS for executive clemency of the
following named persons, I hereby commute the total sentence of imprisonment each of the
following named persons is now serving to expire on May 17, 2017, leaving intact and in effect
for each named person the term of supervised release imposed by the court with all its conditions
and all other components of each respective sentence:

       Timothy Barker                               Reg. No. 45958-054
       Darryl K. Barnes                             Reg. No. 59449-066
       Blake Demond Beard                           Reg. No. 54412-019
       Michael Dwight Brown                         Reg. No. 34828-037
       Timothy Wayne Calhoun                        Reg. No. 70061-079
       Terrance Cox                                 Reg. No. 20972-076
       Arthur Edmonds                               Reg. No. 25203-050
       Carroll Fletcher                             Reg. No. 19977-101
       Darryl C. Gillard                            Reg. No. 08333-035
       Pablo Gonzalez, Jr.                          Reg. No. 66638-079
       Rogel Grant                                  Reg. No. 59205-066
       Lionel Joseph Henderson, Jr.                 Reg. No. 12794-035
       Roy Lee Hodgkiss                             Reg. No. 52403-080
       Adrien Tyrell Horne                          Reg. No. 25716-056
       Robert Jackson, Sr.                          Reg. No. 12762-018
       Tony Lanier Jackson                          Reg. No. 09703-021
       Lonnie Jennings                              Reg. No. 19289-424
       Audrey Louis Johnson, Jr.                    Reg. No. 10446-033
       Oscar Lopez,                                 Reg. No. 87651-024
         aka Oscar Lopez-Rivera
       Connie Lee Lyons                             Reg. No. 11394-018
       Adan Nieves Martinez,                        Reg. No. 09460-059
         aka Adam Martinez
       Kevin C. McFerren                            Reg. No. 15029-076
       Alphonse Milan                               Reg. No. 04876-095
       Muff t Ishmael Mustaafa                      Reg. No. 12659-026
       Andre Nelson,                                Reg. No. 50648-083
        aka Terrell Andre Nelson
       Gregory Newton                               Reg. No. 08137-029
       Wesley Eugene Northington                    Reg. No. 06856-028
       William Ortiz                                Reg. No. 19003-054
       David Javier Perez                           Reg. No. 16007-084
       Deneise Ann Quintanilla                      Reg. No. 56026-079
       Rodrikus Marshun Robinson                    Reg. No. 02188-057
       Bruce Samuels,                               Reg. No. 25569-083
        aka Briscoe Samuels,
        aka Bruce Bynum
       Stephen Dale Schnepf                         Reg. No. 03453-029
       Adrian Scott                                 Reg. No. 28902-037
       Vincent B. Snyder                            Reg. No. 75936-004
       Dwight M. Spencer                            Reg. No. 04182-017
       Lulummba Clay Travis                         Reg. No. 05551-032
       Yolanda Triana,                              Reg. No. 04441-063
         aka Yolanda Jean Rodriguez
       Warren Lee Underwood                         Reg. No. 57245-097
       Rashard Kimako Wagner                        Reg. No. 11847-171
       Ralph Darrell Warren                         Reg. No. 41416-060
       Keith Wooten                                 Reg. No. 23194-050
       Michael Wayne Wright                         Reg. No. 24493-034
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       I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to expire on May 17, 2017. I also remit the unpaid balance of the
fine imposed by the court on each respective person. I leave intact and in effect for each named
person all other components of each respective sentence. I also direct the Bureau of Prisons to
place each named person on prerelease custody as soon as possible:

       Cesar Moreno, Sr.                            Reg. No. 71488-079
       Eduardo Moreno                               Reg. No. 71489-079
       Lazaro Moreno                                Reg. No. 71491-079
       Luis Moreno                                  Reg. No. 71492-079


       I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to expire on January 17, 2018. I leave intact and in effect for
each named person all other components of each respective sentence. I also direct the Bureau of
Prisons to place each named person on prerelease custody as soon as possible:


       Brian Keith Harvey                           Reg. No. 18725-018
       Tressie Walker                               Reg. No. 10423-026


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 120 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:


       Randolph Key                                 Reg. No. 17124-171
       Tracy Moorehead                              Reg. No. 41233-424
       Willie Myers, Jr.                            Reg. No. 16959-171


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 188 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:


       Ulysses Simon Bouie                          Reg. No. 17231-171
       Jesse Jackson                                Reg. No. 39514-048
       Kunta Kenta Redd                             Reg. No. 51268-056
       Kevin Williams                               Reg. No. 22012-076
       Brenz Kaiwaena Wright                        Reg. No. 57767-019


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 240 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Antwan Boyd                                  Reg. No. 50246-018
       Rickey Calloway                              Reg. No. 10431-033
       Leonard Lyle Fontenot                        Reg. No. 12594-035
       Willard Wayne. Howard                        Reg. No. 41368-074
       John E. Stewart                              Reg. No. 10624-033
       Ruben Velez                                  Reg. No. 20465-068
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        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 240 months' imprisonment. I also remit the unpaid
balance of the fine imposed by the court that may remain when respective person's sentence
expires. I leave intact and in effect for each named person the term of supervised release imposed
by the court with all its conditions and all other components of each respective sentence:

       Kelvin Dandrea Cotton                        Reg. No. 15949-179
       Omar Demortius Williams                      Reg. No. 56545-180


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 262 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Valarian Jaymonn Brown                       Reg. No. 54816-018
       Vandarrell Leon Doe,                         Reg. No. 12356-021
        aka Dwan Devon Doe
       Bobby Eugene Mitchell                        Reg. No. 26741-001

        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 300 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Chris Coleman                                Reg. No. 20304-045
       Raymond M. Walker, III                       Reg. No. 07720-028
       Randy Gean Williams,                         Reg. No. 40081-050
        aka Malik Strong


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 360 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Roland J. Bailey                             Reg, No. 06791-016
       Robert Booker                                Reg. No. 19040-039
       Raymond Brown                                Reg. No. 25772-056
       Paul Anthony Cass                            Reg. No. 26342-001
       Iris Yolanda Davila                          Reg. No. 52919-066
       Leonard Jones,                               Reg. No. 05248-036
         aka Anthony James
       Tony Mitchell                                Reg. No. 20705-076
       Stefan Valenti Mosley                        Reg. No. 37861-037
       Miguel Angel Quintanilla                     Reg. No. 56027-079
       Nathaniel Salery                             Reg. No. 09306-002
       Axel Santos-Cruz                             Reg. No. 51969-066
       Matthew Arrington Turner                     Reg. No. 22489-424
       Kenneth Gary Washington                      Reg, No. 09016-035
       Alfred Leonard Williams                      Reg. No. 02391-025
       Rodney Anton Williamson                      Reg. No. 23534-057
       John F. Winkelman, Jr.                       Reg. No. 10506-067
       Terry Woods                                  Reg. No. 22037-057
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        I hereby further commute the total sentence of imprisonment imposed upon Jerry
Jerome Anderson, Reg. No. 82944-020, to expire on January 17, 2020, leaving intact and in
effect the five-year term of supervised release with all its conditions and all other components of
the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Henry
Robert Brown, Reg. No. 07719-424, to a term of 292 months' imprisonment. I also remit the
unpaid balance of the $450,000 money judgment imposed by the court that may remain when his
term of incarceration has expired. I leave intact and in effect the 10-year term of supervised
release with all its conditions and all other components of the sentence.

       I hereby further commute the total sentence of imprisonment imposed upon Christopher
M. DePree, Reg. No. 31871-044, to expire on July 16, 2017, leaving intact and in effect the
four-year term of supervised release with all its conditions and all other components of the
sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Daryl
Edwards, Reg. No. 22717-018, to a term of 360 months' imprisonment, leaving intact and in
effect all other components of the sentence. I also direct the Bureau of Prisons to place the said
Daryl Edwards, Reg. No. 22717-018, on prerelease custody during the final year of his
sentence.

          hereby further commute the total sentence of imprisonment imposed upon Donnell
Bartholomew Ford, Reg. No. 09934-424, to a term of 300 months' imprisonment. I also remit
the unpaid balance of the $10,000 fine imposed by the court that may remain when his term of
incarceration has expired. I leave intact and in effect the five-year term of supervised release
with all its conditions and all other components of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon David Louis
Hunter, Reg. No. 75096-004, to a term of 210 months' imprisonment, leaving intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Kenya
Lasale Nicholson, Reg. No. 15435-064, to a term of 324 months' imprisonment, leaving intact
and in effect the 10-year term of supervised release with all its conditions and all other
components of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Bobby
Wayne Reed, Reg. No. 72743-079, to a term of 360 months' imprisonment. I also remit the
unpaid balance of the $25,000 fine imposed by the court that may remain when his term of
incarceration has expired. I leave intact and in effect the five-year term of supervised release
with all its conditions and all other components of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Jermaine
Darnell Samuels, Reg. No. 11105-030, to a term of 180 months' imprisonment, leaving intact
and in effect the 10-year term of supervised release with all its conditions and all other
components of the sentence.

       I hereby further commute the total sentence of imprisonment imposed upon Gino Velez
Scott, Reg. No. 85741-020, to a term of 264 months' imprisonment, leaving intact and in effect
the 10-year term of supervised release with all its conditions and all other components of the
sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Brian
Lafonta Smith, Reg. No. 13300-041, to a term of 150 months' imprisonment, leaving intact
and in effect the four-year term of supervised release with all its conditions and all other
components of the sentence.
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        I hereby further commute the total sentence of imprisonment imposed upon Kelzin
Squirewell, Reg. No. 99859-071, to a term of 138 months' imprisonment, leaving intact and in
effect the eight-year term of supervised release with all its conditions and all other components
of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Douglas Lee
Stallworth, Reg. No. 13353-084, to a term of 168 months' imprisonment, leaving intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Dashon
Coverta Starks, Reg. No. 22808-018, to a term of 288 months' imprisonment, leaving intact
and in effect the eight, year term of supervised release with all its conditions and all other
components of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Ronald
Toms, Reg. No. 00275-748, to a term of 352 months' imprisonment, leaving intact and in
effect the five-year term of supervised release with all its conditions and all other components of
the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Andres
Wilfredo Torriente Reg. No. 09811-031, to a term of 163 months' imprisonment, leaving
intact and in effect the 10-year term of supervised release with all its conditions and all other
components of the sentence.

       I hereby further commute the total sentence of imprisonment imposed upon Eric Wilson,
Reg. No. 06831-424, to a term of 424 months' imprisonment, leaving intact and in effect the
five-year term of supervised release with all its conditions and all other components of the
sentence.


        I HEREBY DESIGNATE, direct, and empower the Pardon Attorney, as my
representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as
evidence of my action in order to carry into effect the terms of these grants of clemency, and to
deliver a certified copy of the signed warrant to each of the persons to whom I have granted
clemency as evidence of my action.

       IN TESTIMONY WHEREOF I have hereunto signed my name and caused the seal of
the Department of Justice to be affixed.


                                                      Done at the City of Washington this
                                                      Seventeenth day of January in the year of
                                                      our Lord Two thousand and seventeen and
                                                      of the Independence of the United States the
                                                      two hundred and forty-first.




                                                          BARACK OBAMA
                                                             President
